   Case: 1:15-cr-00620 Document #: 189 Filed: 04/14/20 Page 1 of 1 PageID #:4750


                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: United States v. Barbara                       Case Number: 15-CR-620
            Byrd-Bennett

An appearance is hereby filed by the undersigned as attorney for:
Barbara Byrd-Bennett
Attorney name (type or print): Erica Zunkel

Firm: University of Chicago Federal Criminal Justice Clinic

Street address: 6020 S. University Ave.

City/State/Zip: Chicago, IL 60637

Bar ID Number: 229285                                      Telephone Number: 773-702-9611
(See item 3 in instructions)

Email Address: ezunkel@uchicago.edu

Are you acting as lead counsel in this case?                                    ✔ Yes              No

Are you acting as local counsel in this case?                                   ✔ Yes              No

Are you a member of the court’s trial bar?                                      ✔ Yes              No

If this case reaches trial, will you act as the trial attorney?                      Yes       ✔ No
If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
       XX Pro Bono Counsel                                            If appointed counsel, are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on 4/14/2020

Attorney signature:            S/ Erica Zunkel
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
